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Inside the backchannel communications keeping Donald Trump in the
loop on Republican investigations
By Annie Grayer, Alayna Treene, Melanie Zanona and Kristen Holmes, CNN
Published 12:00 PM EDT, Tue March 28, 2023
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Washington (CNN) — Donald Trump continues to wield enormous power on Capitol Hill as House Republicans seek to curry favor with the former president, pursuing his
fixations through their investigations and routinely updating him and his closest advisers on their progress.

A number of top House GOP lawmakers have disclosed in recent days their efforts to keep the former president informed on the pace and substance of their investigations.
Lines of communication appear to go both ways. Not only are Trump, his aides and close allies regularly apprised of Republicans’ committee work, they also at times exert
influence over it, multiple people familiar with the talks tell CNN.

The constant, and sometimes direct, communication between Trump and the committees has emerged as a crucial method for Trump to shape Republicans’ priorities in
their newly-won House majority. It also underscores the extraordinary sway an ex-president still holds over his party’s lawmakers and the deference many still afford him.

That dynamic has been on full display over the past week, as top House Republicans attempted to intervene in Manhattan District Attorney Alvin Bragg’s investigation of
hush money payments Trump allegedly made to adult film actress Stormy Daniels. That’s led to an acrimonious back and forth between three powerful Republican
committee chairs and Bragg over what, if any, jurisdiction Congress has over the DA’s work.

House GOP Conference Chair Elise Stefanik, the third-ranking House Republican, has become a key point person for Trump on Hill investigations. The New York Republican
talks to Trump roughly once a week, and often more, frequently briefing him on the House committees’ work, three sources familiar with their conversations tell CNN. Trump
often calls her as well, the sources said.

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Stefanik and Trump spoke several times last week alone, where she walked him through the GOP’s plans for an aggressive response to Bragg.

GOP Rep. Marjorie Taylor Greene, who serves on the House Oversight Committee, which is conducting a number of investigations into President Joe Biden, also speaks to
Trump on a frequent basis. Both she and Stefanik have endorsed Trump’s 2024 presidential bid and are said to be interested in serving as his running mate.

“I keep him up on everything that we’re doing,” Greene told CNN. “He seems very plugged in at all times. Sometimes I’m shocked at how he knows all these things. I’m like,
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‘How do you know all this stuff?’”

Multiple sources tell CNN that Trump and House Judiciary Chair Jim Jordan speak regularly but declined to divulge whether those conversations included Jordan’s
investigative efforts.

“Conversations among concerned parties about issues facing the country are not news and regular order in Congress,” Jordan’s spokesperson Russell Dye said in a
statement to CNN.



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Trump, meanwhile, has been regularly briefed on the work of House Oversight Chairman James Comer, but the Kentucky Republican said the two have not spoken since the
2020 presidential election.

“I haven’t talked to Trump since he was President” Comer told CNN. “Now, I talk to former people that used to work for Trump every now and then. But not about Trump.”

A source close to Comer added he communicates with “a variety of outside groups, associations and interested parties about the Oversight Committee’s work.”

At his rally in Waco, Texas on Saturday, Trump publicly thanked Comer and Jordan, saying Comer “has become a great star.”

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The decision of what to investigate also underscores the extent to which Republican-led committees are willing to act as a shield for the embattled former president, as well
as attempt to inflict damage on Biden ahead of the 2024 presidential election.

That includes launching a probe into the House Select Committee that investigated January 6, investigating GOP allegations of Biden family influence peddling, and
dropping investigations into foreign spending at Trump-owned properties.

Trump’s influence on House Republicans has been particularly telling in the way they have gone after Bragg in recent days.

After Trump on March 18 suggested his arrest was imminent, two days later, Jordan, Comer and Bryan Steil, chair of House Administration Committee, sent a letter to Bragg
calling for him to sit down for a transcribed interview with their panels — a move that multiple sources familiar with the letter said was prompted by Speaker Kevin
McCarthy’s public condemnation of Bragg’s case.

The request came after Trump lawyer Joe Tacopina sent a letter to Jordan last month asking him to investigate Bragg’s “egregious abuse of power,” The New York Times
first reported and CNN confirmed.
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Patching into Trumpworld
When Trump isn’t communicating directly with House Republicans himself, he is often doing so through a few top advisers, including those on his payroll and former aides
who are still loyal to him, sources tell CNN.

Boris Epshteyn, in-house counsel and senior adviser for Trump who is helping coordinate the former president’s legal strategy, has been at the center of the
communications, four people familiar with the talks tell CNN.

Epshteyn frequently interacts with committee staff, counsel to the chairmen, members of the committee and aides to House leadership, sources said. Epshteyn’s role in the
discussions range from being briefed on their work to the pace of the investigations.

Brian Jack, a former Trump administration official who joined McCarthy’s team in 2021 to lead his political operation, has also served as a crucial communicator between
Trumpworld and the Speaker’s office, multiple source familiar his role said. Jack, who remains an adviser to McCarthy, recently began working on Trump’s 2024 reelection
campaign.

Jack is less involved in communications with the committees themselves, the sources said, but given his role in both McCarthy’s and Trump’s orbit, he’s often the go-to for
advice on how to strategize efforts between the Hill and Trump’s team.

Multiple sources familiar with the backchanneling say much of the talks are less about putting pressure on the committees – as members already know how to maximize
their defense of Trump – and more about ensuring Trump’s team is on the same page as congressional Republicans.

“Trump doesn’t have to tell House GOP committees to investigate, they already are doing investigations that play into Trump’s base and issues: Big Tech censorship, border,
Hunter Biden’s business deals, and weaponization of the federal government,” a senior House GOP aide told CNN.

A spokesperson for Trump did not respond to CNN’s requests for comment.



Pressure from outside groups
Members on key investigative committees also keep in regular contact with Trump-aligned grassroots groups about investigations. Some of those groups have grown
frustrated in recent weeks with how the House panels are conducting their work, including the time it took to hire individuals and get the investigative work started, multiple
sources familiar with the matter said.

GOP Rep. Dan Bishop, who serves on the weaponization subpanel, told CNN, “We’ve heard from outside groups a fair amount about ideas and recommendations.”

Heritage Foundation president Dr. Kevin Roberts said in a statement to CNN, “Conservatives have high expectations for these committees to begin the process of de-
weaponizing the federal government because the very fabric of our society is at stake.”

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A number of these Trump-affiliated groups have urged the GOP-led committees to move more aggressively against Biden.
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“We can’t have two years of hearings and then a report,” President of Judicial Watch Tom Fitton told CNN, referring to the pressure his group has placed on Congress to act
immediately on the abuses of power that he sees happening, including “censoring Americans and trying to jail those who are perceived as political opponents.”

Fitton said he has appreciated how House Republicans have updated the public on an “ongoing basis as opposed to just sitting on material” and added “if they don’t seem
to be going in the right direction, there will be some pushback.”

A number of other Trump-affiliated groups have urged GOP-led committees to move more aggressively against Biden. That includes the Conservative Partnership Institute,
run by former GOP Sen. Jim DeMint and now home to Trump’s former chief of staff Mark Meadows, and the Center for Renewing America, run by Trump’s former Office of
Management and Budget Director Russ Vought.

Staffers close to Jordan are in regular communication with outside groups, and to assuage the tensions that have arisen at times, they have explained that investigations
take time to build, according to multiple sources familiar with the communications.

“I’ve been raising holy hell because this weaponization committee has been structured to fail from Day One,” said Mike Davis, a former top aide to Republican Sen. Chuck
Grassley and founder of the Article III Project, which advocates for “constitutionalist judges.”

“We’ve known since November that we were going to have these committees,” said Davis. “And they’re just now starting to get their act together.”

Davis added that he has spoken at length with many of the outside groups about their concerns – though he has recently praised Jordan for calling on Bragg to testify,
calling it “a step in the right direction” and even tweeted a number of times in support of Jordan.

CLARIFICATION: This story has been updated to clarify Epshteyn’s role with the Trump campaign.



CNN’s Zachary Cohen contributed to this report.




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